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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Northern Division


 UNITED STATES OF AMERICA,              )
                                        )               Case No. 1:16-cv-0810
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 J.A. SUBWAY, INC. and JAMIU LAWAL,     )
                                        )
                                        )
          Defendants.                   )
 _______________________________________)


                  JOINT STATUS REPORT DATED OCTOBER 17, 2017

       On October 13, 2017, this Court asked the parties to submit this joint status report

regarding the show cause hearing scheduled to take place on October 26, 2017. The parties’

separate statements follow.

   I. Plaintiff’s Statement

   1. On August 28, 2017, the parties jointly moved to continue the previous show cause

hearing scheduled to take place on August 30, 2017 because the parties were attempting to

resolve Defendants’ contempt without further litigation. Dkt. No. 26. In furtherance thereof,

counsel for the United States:

           a. Consulted with counsel for Mr. Lawal and requested that he provide payroll

               records for July and August 2017 in order to verify that Mr. Lawal fully paid the

               federal employment tax deposits due for those months, as required by the Court’s

               permanent injunction;
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           b. Consulted with Internal Revenue Officer Kinaberly Sauls to track down a

               payment of $1,151.00 that Mr. Lawal claims that he made via a cashier’s check in

               June; and

           c. Informed Mr. Lawal of the total amount due in federal employment taxes,

               calculated from the date he was served with a copy of the injunction, so that he

               could attempt to cure the contempt by paying the amount due in full before the

               next show cause hearing.

    2. On September 25, 2017, Mr. Lawal provided counsel for the United States with copies of

the payroll records for July and August. Based on those records, it appears that Mr. Lawal fully

paid the tax deposit due for August. However, the tax deposit due for September ($795.30) was

returned by J.A. Subway’s bank for insufficient funds, and there is presently no evidence that

Mr. Lawal has made that payment.

    3. The cashier’s check of $1,151.00, which Mr. Lawal claims that he made in June 2017 has

not posted to the J.A. Subway tax account. Counsel for the United States asked Mr. Lawal to

provide proof of the payment on October 5, 2017 so that the United States could attempt to

locate the payment. As of the filing of this status report, Mr. Lawal has not provided the

requested proof of payment.

    4. In order to cure their contempt of this Court’s permanent injunction, Defendants must pay

a total amount of $5,201.25 for the first quarter of 2017, and $2,430.35 for the second quarter of

20171, calculated as of September 25, 2017. In addition, Mr. Lawal must also now pay the failed




1
 This does not include Mr. Lawal’s alleged payment of $1,151.00 because the United States has
not been able to verify that such a payment was made.



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September tax deposit.2 The United States has not received any information about what efforts,

if any, Mr. Lawal has made or is making to cure the contempt.

     5. In light of the foregoing, Mr. Lawal should be held in contempt of court for failure to

comply with the permanent injunction entered by this Court on September 23, 2016.

Accordingly, the United States is prepared to proceed with the show cause hearing scheduled to

take place on October 26, 2017.

     II. Defendant Jamiu Lawal’s Statement

     6. Mr. Lawal does not object to the government’s statement. Mr. Lawal endeavors to cure

the contempt before the October 26, 2017 show cause hearing.



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2
 The United States has not yet verified whether Mr. Lawal made the tax deposit that was due on
October 15, 2017. If the October tax deposit was not made, that amount must also be paid in
order to cure Defendants’ contempt.

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DATED: October 17, 2017                  Respectfully submitted,

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                                         STEPHEN SCHENNING
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